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         Declaration of Elizabeth A. Bisbee




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My name is Elizabeth (Beth) A. Bisbee. I am the Director of Investigation Solutions for
Chainalysis Government Solutions, a wholly owned subsidiary of Chainalysis Inc., a
blockchain analytics and forensic investigative firm.


Prior to joining Chainalysis in January 2021, I was the Drug Enforcement Administration’s
national subject matter expert for virtual currency investigations, practices, and policies. In
that role, I served as the DEA’s lead expert witness for virtual currency and was involved in
over 400 virtual currency investigations, including work on covert operations, blockchain
analysis, suspect interviews, seizure of cryptocurrency, and trial preparation and testimony.
I developed the DEA’s training curriculum related to virtual currency and blockchain analysis,
and I have taught numerous classes on virtual currency and virtual currency investigations.
This declaration is based on information that has been relayed to me by Chainalysis data
engineers and data scientists. If called as a witness I could and would competently testify to
the matters stated herein.


This declaration is in response to the request from the Court on June 23, 2023 for additional
context as it relates to Chainalysis clustering methodology. This report also provides
information related to the Chainalysis error rate.


Chainalysis Clustering Methodologies

Chainalysis clustering methodologies have not been peer-reviewed in the sense that an
academic paper would get peer-reviewed with data and methodology(ies) reviewed in a
separate study by other scientists. However, every single clustering heuristic in the system
has been reviewed by numerous Chainlaysis data scientists, intelligence analysts, and
investigators that specialize in blockchain analytics. Chainalysis clustering algorithms are
based on deep scientific research in cryptography, blockchains, distributed systems, and
computer science. For example, the co-spend heuristic was originally developed by Sarah




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Mieklejohn, a professor of cryptography in the information security group in the computer
science department at University College London1.


Chainalysis clustering heuristics are also deterministic which means there is no randomness
(i.e., the algorithm2 will produce the same result every time); the data supporting each
independent heuristic result reached in this case can be independently verified and
reproduced via the blockchain. This is similar to how Chainalysis creates other clustering
heuristics where a combination of facts can only lead to a single conclusion. For example, if
Chainalysis conducts transactions with Exchange A on the blockchain, Exchange A must
provide deposit addresses for Chainalysis to send funds. Once funds have been sent to
Exchange A, the deposit addresses then sweep their funds into a single address. On the
blockchain, that single address receives from thousands of other deposit addresses with no
other counterparty on the sending side. This means that this address is a consolidation
address for Exchange A because deposit addresses of an exchange only send funds to the
internal infrastructure of the exchange3. Since Exchange A consolidation address has been
identified, that also means that the thousands of other deposit addresses also belong to
Exchange A. This conclusion is not probabilistic and the transaction pattern can be validated
on the blockchain. This is also represented as an intelligence based heuristic.


The co-spend heuristic is also deterministic. If two UTXOs are spent in the same transaction,
either they are controlled by the same private key or the two private keys are accessible by
the same person. There are scenarios where the algorithm determining the co-spend
heuristic identifies an outcome that doesn’t fit this logic. This occurs when there an
obfuscation technique implemented, such as CoinJoin4. Chainalysis has controls in place to
detect CoinJoin and can skip the CoinJoin co-spends so the addresses are not
clustered/associated.
1
  Meiklejohn S, Pomarole M, Jordan G, et al. A fistful of Bitcoins. Communications of the ACM.
2016;59(4):86-93.doi:https://doi.org/10.1145/2896384. This seminal paper has been peer reviewed and been
cited by over 1,600 other papers.
2
  One way to describe an algorithm: set of rules that can only lead to a single conclusion.
3
  This is similar to a financial institution consolidating daily deposits into the bank’s treasury account.
4
  CoinJoin is an obfuscation technique for combining multiple Bitcoin payments into one transaction in such a
way that ownership of coins is unclear.


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Chainalysis also validates the clustering and identity of named services that actually belong
in the real world. This verification occurs every day hundreds of thousands of times.
Chainalysis clusters centralized exchanges and other services on the blockchain that are our
own customers, independent of the data they provide. For example, KYT (Know Your
Transaction) customers send Chainalysis their transactions for transaction monitoring. As
part of the transactions, they are provided with addresses that are controlled by them on the
blockchain. Chainalysis then cross-validates the information the customer is detailing
against what Chainalysis found independently through clustering and attribution.


There is also validation that occurs with other named entities that are not Chainalysis
customers. Every day law enforcement agencies around the world send legal processes to
exchanges identified in Chainalysis tools. If the information were incorrect, the exchange
receiving the legal process would respond that the address does not match or be controlled
by them. Chainalysis does not know how often this happens but this is extremely rare
otherwise law enforcement customers would not be able to use Chainalysis tools to further
their investigations.


Margin of Error / False Positive / False Negative

Historically, Chainalysis has not gathered and recorded in a central location false positives
/false negatives because there is design to be more conservative in the clustering of
addresses. In response to the Court’s inquiry, Chainalysis is looking into the potential of
trying to collect and record any potential false positives and margin of error, but such a
collection does not currently exist.




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Declarant Signature
                          Digitally signed by Elizabeth
Elizabeth Bisbee Bisbee
                 Date: 2023.07.18 18:06:22 -04'00'



Elizabeth A Bisbee




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